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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

THE AUSTIN CHRONICLE CORPORATION, §
                                  §
               Plaintiff,         §
                                  §
v.                                §                        Case No.    1:24-cv-00717
                                  §
THE HANOVER CASUALTY COMPANY,     §
                                  §
               Defendant.         §

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF THIS COURT:

       Plaintiff The Austin Chronicle Corporation (“the Chronicle”) brings this action against

Defendant The Hanover Casualty Company (“Hanover”) and would respectfully show:

I.     Nature of this action.

       1.      This is a liability insurance coverage case. Hanover is wrongly refusing to provide

its insured, the Chronicle, with a defense and indemnification in a lawsuit, Ariel Cassone v. Louis

Black and The Austin Chronicle Corporation, No. 1:23-CV-01197-RP (W.D. Tex.) (“The Cassone

Lawsuit”). The Cassone Lawsuit alleges claims that trigger Hanover’s duty to defend the

Chronicle and which, if proven and damages assessed, would require Hanover to indemnify the

Chronicle up to policy limits.

       2.      The Chronicle seeks a declaration that Hanover has a duty to defend and indemnify

the Chronicle in The Cassone Lawsuit, and a judgment awarding the Chronicle the defense costs

it has incurred in that case, plus actual and treble damages, prejudgment interest, attorney’s fees

incurred in this lawsuit, and court costs.
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II.     Parties.

        3.      Plaintiff The Austin Chronicle Corporation is a Texas company with its principal

place of business in Austin, Texas.

        4.      Defendant The Hanover Casualty Company is a corporation formed under

Massachusetts law with its principal place of business in Worcester, Massachusetts. It may be

served by serving its registered agent for service of process, CT Corporation System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201-4284.

III.    Jurisdiction and venue.

        5.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity of citizenship between Plaintiff and Defendant and because the amount in

controversy exceeds $75,000.

        6.      This Court has jurisdiction to declare the parties rights and obligations pursuant to

28 U.S.C. §§ 2201 and 2202.

        7.      Hanover is subject to personal jurisdiction in Texas because it has established

minimum contacts with Texas by purposefully availing itself of the benefits and protections of

Texas law by selling insurance policies to Texas companies, including the Chronicle, that are to

be performed in whole or in part within Texas, and by failing to perform the contractual, statutory,

and common law duties it owes to the Chronicle in Texas.

        8.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events and omissions giving rise to Plaintiff’s claims occurred in the Austin Division

of the Western District of Texas.




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IV.     The facts.

        A.      The Chronicle bought liability insurance from Hanover to cover claims
                asserted against it between August 6, 2023, and August 6, 2024.

        9.      The Chronicle is a local company that has published a highly regarded independent

alternative newspaper, The Austin Chronicle, since 1981.

        10.     Hanover is an insurance company that sells, among other things, liability insurance

policies in Texas.

        11.     The Chronicle has bought insurance from Hanover for many years. Effective June

5, 2023, the Chronicle renewed its insurance policies with Hanover for a total premium, paid in

advance, of $17,114.00. In exchange for that premium, Hanover issued the Chronicle its Avenues

Businessowners Insurance Policy No. OLD-A997819-07 (“the Policy”). Ex. 1, attached. The

Policy’s period runs from August 6, 2023, to August 6, 2024. Id. at 14.

        12.     The Policy provides for different types of coverage. Three are at issue.

        13.     First, the Policy provides the Chronicle $1,000,000 per occurrence and $2,000,000

aggregate coverage for “Businessowners Liability.” Ex. 1 at 14. Subject to certain exclusions,

this coverage provides

        a.      We will pay those sums the insured becomes legally obligated to pay as damages
                because of "bodily injury", "property damage" or "personal and advertising injury"
                to which this insurance applies. We will have the right and duty to defend the
                insured against any "suit" seeking those damages. However, we will have no duty
                to defend the insured against any "suit" seeking damages for "bodily injury",
                "property damage" or "personal and advertising injury", to which this insurance
                does not apply. …
        b.      This insurance applies:
                (1)      To “bodily injury” or “property damage” only if:
                         (a)    The “bodily injury” or “property damage” is caused by an
                                “occurrence” that takes place in the “coverage territory”; …

Id. at 90. The relevant definitions follow:



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        “Suit” means a civil proceeding in which damages because of “bodily injury”, “property
        damage”, “personal and advertising injury” to which this insurance applies are alleged.

Id. at 107.

        “Bodily injury” means bodily injury, sickness or disease sustained by a person, including
        death resulting from any of these at any time. “Bodily injury” includes mental anguish or
        other mental injury resulting from “bodily injury.”

Id. at 104.

        “Personal and advertising injury” means injury, including consequential “bodily injury”,
        arising out of one or more of the following offenses:

        a.       False arrest, detention, or imprisonment;

Id. at 106.

        “Occurrence” means an accident, including continuous or repeated exposure to
        substantially the same general harmful conditions.

Id.

        14.      The Chronicle also purchased a $250,000 “Employment Practices Liability

Insurance Coverage Endorsement.” Ex. 1 at 27. Subject to certain exclusions, this coverage

provides

        "We" shall pay those "losses" arising out of "your" "wrongful employment act" against
        "your" "employees", to which this insurance applies. The "wrongful employment act"
        must commence or take place after the "original inception date", but before the end of
        the "EPL coverage period". A “claim” or “suit” for a “wrongful employment act” must be
        first made against “you” during the “EPL coverage period” or any Extended Reporting
        Period (if applicable) and reported to “us” pursuant to the terms of this EPL Endorsement.
        …
        "We" have the right and duty to defend and appoint an attorney to defend any "claim" or
        "suit" brought against any "insured" for a "wrongful employment act" to which this
        insurance applies, even if the "claim or "suit" is groundless or fraudulent.

Id. at 176.




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        15.      Finally, the Chronicle purchased Hanover’s “Commercial Liability Umbrella

Coverage.” Ex. 1 at 30. Subject to certain exclusions, this coverage provides

        We will pay on behalf of the insured the "ultimate net loss" in excess of the "retained
        limit" because of "bodily injury" or "property damage" to which this insurance applies.
        We will have the right and duty to defend the insured against any "suit" seeking damages
        for such "bodily injury" or "property damage" when the "underlying insurance" does not
        provide coverage or the limits of "underlying insurance" have been exhausted. When we
        have no duty to defend, we will have the right to defend, or to participate in the defense
        of, the insured against any other "suit" seeking damages to which this insurance may
        apply. However, we will have no duty to defend the insured against any "suit" seeking
        damages for "bodily injury" or "property damage" to which this insurance does not apply.

Id. at 208.

        B.       Ariel Cassone sued Louis Black and the Chronicle in October 2023.

        16.      Ariel Cassone filed her Original Complaint in The Cassone Lawsuit against Louis

Black and The Austin Chronicle Corporation on October 3, 2023. Ex. 2, attached.

        17.      Ms. Cassone’s Original Complaint alleged that Louis Black, a founder and former

editor of the Chronicle, subjected her to “years of consistent harassment and abuse,” and that he

“used his power and influence to coerce [her] into a state of sexual servitude under the guise of

‘mentorship’ at the expense of [her] well-being and her financial and professional autonomy.”

Ex. 1 ¶ 4. She alleged that the Chronicle was “aware or willfully ignorant of the fact that [it]

benefitted from Ms. Cassone’s forced labor and from the working relationship in which she was

coerced to engage in commercial sex acts for Mr. Black.” Id. ¶¶ 9, 32. She alleged claims against

Mr. Black of Assault-Threat of Bodily Injury, Assault-Infliction of Bodily Injury, Offensive

Physical Contact, Intentional Infliction of Emotional Distress, Breach of Contract, and Fraudulent

Inducement. Id. ¶¶ 37-59. She alleged claims of Forced Labor under Texas law and Labor

Trafficking and Sex Trafficking under federal law against both Mr. Black and the Chronicle. Id.




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¶¶ 60-71. She sought actual, compensatory, punitive, pre- and post-judgment interest, attorneys’

fees and costs from both Mr. Black and the Chronicle. Id. at 19 ¶¶ A-E.

        18.     After the Chronicle moved to dismiss her claims against it, Ms. Cassone filed a

First Amended Complaint. Ex. 3, attached. She repeated the factual allegations in her Original

Complaint, and she added allegations that Mr. Black had treated other, unnamed, women similarly,

and that the Chronicle’s employees “concealed or turned a blind eye to the pattern of abuse

Mr. Black engaged in for years … .” Id. ¶ 56. She alleged the same six causes of action against

Mr. Black only, id. ¶¶ 59-81, and the same three trafficking claims against both Mr. Black and the

Chronicle. Id. ¶¶ 82-95. Her First Amended Complaint sought the same damages, interest,

attorneys’ fees, and costs as her Original Complaint. Id. at 19 ¶¶ A-E.

        19.     After the Court dismissed Ms. Cassone’s claims against the Chronicle, she moved

for leave to amend her complaint again and filed a Proposed Second Amended Complaint. Ex. 4,

attached. Her proposed complaint adds allegations that the Chronicle paid her “in or around 2016”

to work at a “four-day international symposium” hosted by the Chronicle in Austin, Texas, and

that the Chronicle knew Mr. Black “was misspending company funds” to pay for hotel rooms

where he allegedly assaulted Mr. Cassone and other, unnamed women. Id. ¶¶ 47-48, 58-61.

Ms. Cassone still did not allege any specific facts indicating that the Chronicle knew of Mr. Black’s

conduct, and she continued to allege in the alternative that the Chronicle either knew or should

have known of his alleged abuse. Id. ¶ 60.

        20.     Ms. Cassone’s motion for leave to file her Proposed Second Amended Complaint

is currently pending before this Court. See Doc. 31, Cassone v. Black, No. 1:23-cv-01197-RP.




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                C.      Hanover refused the Chronicle coverage under its Businessowners
                        Liability and Commercial Liability Umbrella Coverage.

        21.     Promptly after The Cassone Lawsuit was filed, the Chronicle tendered the Original

Complaint to Hanover. By letter dated November 16, 2022, Hanover denied that it had a duty to

defend or indemnify the Chronicle under the Policy’s Businessowners Liability or Commercial

Liability Umbrella Coverage. See Ex. 5 at 4-5. Hanover ignored the Policy’s Employment

Practices Liability Insurance Coverage Endorsement. Id.

        22.     Hanover’s denial letter opened by stating that

        there is no coverage under the policies issued by Hanover to ACC [The Austin Chronicle
        Corporation]. Specifically, there is no coverage for intentional acts and the allegations
        in the Complaint don’t meet the definition of an occurrence under the policies.

Ex. 5 at 1 (emphasis added).

        23.     Hanover then purported to summarize The Cassone Lawsuit’s allegations in a

single paragraph:

        The Plaintiff Ariel Cassone filed an action for damages and other legal equitable relief
        against Louis [B]lack and ACC. The Complaint alleges that ACC was aware or willfully
        ignorant of the fact that it benefited from Plaintiff’s forced labor and from the working
        relationship in which she was required to engage in commercial sex acts for Mr. Black.
        Plaintiff alleges her salary was funded by ACC. Ms. Cassone seeks damages from
        Defendants for assault; intentional infliction of emotional distress; breach of contract;
        forced labor in violation of Texas law; violations of the Trafficking Victims Protection
        Reauthorization Act and any other cause(s) of action that can be inferred from the facts set
        forth in the Complaint.

Ex. 5 at 1 (emphasis added).

        24.     Hanover next recited a number of provisions from the Policy, Ex. 5 at 2-4, and then,

in a single paragraph, stated its reason for denying coverage:

        Based on the allegations of the complaint and the relevant policy language it is the position
        of Hanover that coverage under the policy has not been triggered and that one or more
        policy exclusions apply. Ariel Cassone’s claims against Louis Black and ACC are all
        intentional acts. Both insurance policies explicitly and unambiguously exclude coverage
        of claims resulting from bodily injury that are the result of an intentional act by an



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        insurer. Plaintiff states ACC was aware or willfully ignorant of the fact that it benefited
        from Plaintiff’s forced labor and from the working relationship in which she was required
        to engage in commercial sex acts for Mr. Black. Plaintiff alleges that Mr. Black and
        ACC’s acts were intentional, thereby causing the injury. Therefore coverage has not
        been triggered because the exclusion for expected or intended injury applies to your
        alleged actions under both policies.

Id. at 4 (emphasis added).

        25.     Hanover’s denial letter was riddled with errors, was internally inconsistent, and

misrepresented the Policy’s terms.

        26.     Hannover’s assertion that Ms. Cassone seeks “damages from Defendants” for

assault, intentional infliction of emotional distress, and breach of contract, see Ex. 5 at 1 (emphasis

added), was wrong. Ms. Cassone has alleged those intentional tort and contract claims against

Mr. Black only. See Ex. 2 ¶¶ 37-53; Ex. 3 ¶¶ 59-75; Ex. 4 ¶¶ 65-81.1 The Cassone Lawsuit alleges

only state and federal trafficking beneficiary claims against the Chronicle. See Ex. 2 ¶¶ 60-70;

Ex. 3 ¶¶ 82-94; Ex. 4 ¶¶ 88-100.

        27.     Hanover’s assertion that “Ariel Cassone’s claims against … ACC are all intentional

acts,” Ex. 5 at 4, was also wrong. The Cassone Lawsuit does not allege that the Chronicle

committed any abuse, intentional or otherwise. It claims only that the Chronicle allegedly

“benefited from Ms. Cassone’s forced labor, and from the professional relationship in which she

was required to engage in commercial sex acts for Mr. Black.” Ex. 2 ¶ 32 (emphasis added). See

also Ex. 3 ¶ 45; Ex. 4 ¶ 46. As to the Chronicle’s state of mind, Ms. Cassone does not allege the

Chronicle acted intentionally, only that it knew or should have known that it was benefiting

passively from Mr. Black’s alleged abuse; she does not even allege that the Chronicle necessarily



1
 Hanover’s summary of the lawsuit’s claims was so perfunctory that it overlooked an entire cause
of action, Fraudulent Inducement. See Ex. 5 at 1. That intentional tort, like the others, is alleged
against Mr. Black only, not the Chronicle. See Ex. 2 ¶¶ 54-59; Ex. 3 ¶¶ 76-81; Ex. 4 ¶¶ 82-87.


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knew of the alleged abuse, let alone intentionally committed it. Id. Hanover’s misreading of The

Cassone Lawsuit’s allegations against the Chronicle led it to wrongly deny coverage.

        28.     The federal criminal labor and sex trafficking statutes on which Ms. Cassone bases

her claims against Mr. Black require intentional conduct to convict. See 18 U.S.C. § 1589(a);

18 U.S.C. § 1591(a). However, the statute that provides trafficking victims a civil remedy against

alleged beneficiaries of their trafficking does not. Rather, it is sufficient to show that the alleged

beneficiary – here, the Chronicle – “knew or should have known” that it was benefitting from

participating in a venture that trafficked the plaintiff. 18 U.S.C. § 1595(a). To state a trafficking

beneficiary claim, a victim does not need to allege that the beneficiary even knew of their

trafficking, let alone committed intentional wrongful conduct:

        To state a claim under a § 1595 financial beneficiary theory, Plaintiff must allege facts
        from which it can be reasonably inferred that [] Defendants (1) “knowingly benefit[ted]
        financially or by receiving anything of value,” (2) from participating in a venture, (3) they
        “knew or should have known has engaged in” sex trafficking under § 1591.

E.S. v. Best Western Intern., Inc., 510 F. Supp. 3d 420, 426 (N.D. Tex. 2021) (citing J.C. v. Choice

Hotels Int’l, Inc., No. 20-cv-0155, 2020 WL 631870, at *4 (N.D. Cal. Oct 28, 2020)) (emphasis

added).2 As one federal court observed when holding that a trafficking beneficiary claim fell

within the scope of liability insurance coverage:

        [I]t is possible for a defendant to be civilly liable without having violated any of the
        criminal portions of the TVPA, because the statute permits recovery under a civil
        standard even in the absence of proof of intentional conduct.

Ricchio v. Bijal, Inc., 424 F. Supp. 3d 182, 194 (D. Mass. 2019) (emphasis added).3


2
  See also, e.g., Harris v. Henry, No. 1:22-cv-00366-LY, 2022 WL 16825200, at *7 (W.D. Tex.
Nov. 7, 2022), approved, 2023 WL 3035423 (Jan. 11, 2023) (beneficiary claim required plaintiff
to allege that defendant “knew or should have known” that [co-defendant] was engaged in the
alleged sex trafficking of Plaintiff”) (emphasis added).
3
  As a commentator has noted, “a civil action against the ‘passive sex trafficker’ might trigger at
least a duty to defend because the statutory language requires only that this type of trafficker


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        29.     Hence, the key factor on which Hanover based its denial of coverage – that “Arial

Cassone’s claims against … ACC are all intentional acts” – was simply incorrect. Ms. Cassone’s

federal trafficking beneficiary claims against the Chronicle do not allege (and do not need to

allege) that the Chronicle intentionally abused her, nor do they allege (or need to allege) that the

Chronicle knew about her alleged abuse, only that it knew or should have known. See 18 U.S.C.

§ 1591(a).

        30.     Indeed, Hanover knows that The Cassone Lawsuit is not based solely on allegations

of intentional conduct by the Chronicle. Contradicting its claim that “all” of Ms. Cassone’s claims

are based on the Chronicle’s alleged “intentional acts,” Hanover’s denial letter expressly

recognized that Ms. Cassone alleged the Chronicle “was aware of or willfully ignorant of”

Mr. Black’s alleged labor and sex trafficking. Ex. 5 at 1 (emphasis added). Therefore, even

assuming the Policy “explicitly and unambiguously exclude[s] coverage of claims resulting from

bodily injury that are the result of an intentional action by an insured,” Hanover wrongly refused

to defend the Chronicle because at least one claim – that the Chronicle should have known of her

abuse – potentially fell within coverage. E.g., Enserch Corp. v. Shand Morahan & Co., Inc., 952

F.2d 1485, 1492 (5th Cir. 1992) (“If any allegation in the complaint is even potentially covered by

the policy then the insurer has a duty to defend its insured.”).

        31.     But Hanover did not just mischaracterize the The Cassone Lawsuit.            It also




‘knowingly’ benefits, financially or by receiving something of value, from participating in a
venture which that trafficker ‘knew or should have known was engaged in sex trafficking.’ The
‘should have known’ alternative situation can be viewed as presenting a potential for an ‘accident,’
injury, or damage that was not expected or intended, and false imprison[ment] which the ‘passive
sex trafficker’ did not ‘know’ was violating rights and inflicting injury.” Eldon S. Edson, Sex
Trafficking Victims’ Statutory Claims for Damages: What Are They? Could liability Insurance
Apply?, New Appleman on Insurance: Current Critical Issues in Insurance Law (Spring 2020) at
43.


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misstated the terms of its own Policy.

        32.     Contrary to Hanover’s assertion, the Policy does not “explicitly and

unambiguously” exclude all claims based on “an intentional act by an insured.” Ex. 5 at 4. The

Policy contains no such language. Hanover apparently drew this inaccurate conclusion from the

Policy’s definition of an “occurrence” that triggers covered, and on three exclusions. See Ex. 5 at

2-4. However, under well-established Texas law, Ms. Cassone’s claim that the Chronicle “knew

or should have known” of her abuse qualifies as a coverage-triggering “occurrence,” and none of

the cited Policy exclusions excuse Hanover from its duty to defend the Chronicle in The Cassone

Lawsuit.

        33.     First, Hanover’s claim that “the allegations in the Complaint don’t meet the

definition of an occurrence” and thus do not trigger coverage, Ex. 5 at 1, is wrong.

        34.     The Policy uses the typical definition of “occurrence” in a commercial general

liability (“CGL”) policy:

        “Occurrence” means an accident, including continuous or repeated exposure to
        substantially the same general harmful conditions.

Ex. 1 at 107. The Policy does not define “accident,” but under Fifth Circuit and Texas cases, the

terms “occurrence” and “accident” include damage that is the “unexpected, unforeseen or

undesigned happening or consequence” of an insured’s negligent behavior. Federated Mut. Ins.

Co. v. Grapevine Excavation Inc., 197 F.3d 720, 724-25 (5th Cir. 1999).4 The Cassone Lawsuit’s

claim that the Chronicle should have known of Mr. Black’s alleged abuse is a claim of negligence.

Therefore, The Cassone Lawsuit is a “suit” that alleges damages because of “bodily injury” caused


4
 “[A]n accident or occurrence is a happening that is unexpected and that occurs without intention
or design.” Burlington Ins. v. Texas Krishnas, Inc., 143 S.W.3d 226, 231 (Tex. App. – Eastland
2004, no pet.) (finding duty to defend church against lawsuit alleging, in the alternative, that it
either knew, or should have known, that its teachers had dangerous propensities).


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by an “occurrence,” as those terms are defined in the Policy, thereby triggering coverage.

        35.     Hanover’s denial letter referenced three exclusions that it contended took The

Cassone Lawsuit out of coverage. None of those exclusions apply.

        36.     First, Hanover referenced the Policy’s “Expected or Intended Injury” exclusion,

claiming that “coverage has not been triggered because the exclusion for expected or intended

injury applies to your alleged actions under both policies.” Ex. 5 at 4. However, this exclusion is

expressly limited to claims alleging “[b]odily injury’ or ‘property damage’ expected or intended

from the standpoint of the insured.” Id. (emphasis added). Ms. Cassone does not allege that the

Chronicle “expected or intended” to inflict bodily injury on her. She alleges only that the

Chronicle benefitted from her alleged abuse by Mr. Black, and only that the Chronicle knew or

should have known of that abuse; not that it “expected or intended” that abuse. This exception,

therefore, does not excuse Hanover from its duty to defend The Cassone Lawsuit.

        37.     Second, without explaining how it applied, Hanover included the language of the

Policy’s Knowing Violation of Rights of Another exclusion in its denial letter. See Ex. 5 at 2.

This exclusion, however, is expressly limited to claims “caused by or at the direction of the

insured with the knowledge that the act would violate the rights of another … .’” Id. (emphasis

added). Ms. Cassone does not allege that her damages were “caused by or at the direction” of the

Chronicle, nor does she allege that the Chronicle acted “with knowledge that the act would violate”

her rights. Ms. Cassone alleges only that the Chronicle knew or should have known that it

benefitted from Mr. Black’s alleged abuse. This exception, therefore, does not excuse Hanover

from its duty to defend the Chronicle.

        38.     Finally, and again without explaining how it applied, Hanover’s denial letter

included the language of the Criminal Acts exclusion. See Ex. 5 at 2, 4. This exclusion, however,




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is expressly limited to claims “arising out of a criminal act committed by or at the direction of

the insured.” Id. The Cassone Lawsuit does not allege that the Chronicle committed any criminal

act, nor that Mr. Black’s alleged abuse was committed “at the direction of” the Chronicle. This

exclusion, therefore, does not excuse Hanover from its duty to defend.

        39.      Hanover’s denial letter appears to wrongly attribute the conduct of one named

insured (Mr. Black) to another named insured (the Chronicle), contrary to Policy’s express

language and clearly established Texas law. Notably, Hanover’s denial letter omitted the Policy’s

“Separation of Insureds” clause, which provides:

        4.       Separation of Insureds
                 Except with respect to the Limits of Insurance under SECTION II – LIABILITY, and
                 any rights or duties specifically assigned in this Coverage Part to the first Named
                 Insured, this insurance applies:
                 a.     As if each Named Insured were the only Named Insured; and
                 b.     Separately to each insured against whom claim is made or “suit” is
                        brought.

Ex. 1 at 104. Under its own Policy, therefore, Hanover cannot deny the Chronicle a defense based

on allegations made against Mr. Black.

        40.      Moreover, the Texas Supreme Court, in construing materially identical policy

language, held that “the insured’s standpoint controls in determining whether there has been an

‘occurrence’ that triggers the duty to defend.” King v. Dallas Fire Ins. Co., 85 S.W.3d 185, 188

(Tex. 2002). “[W]hether one who contributes to an injury is negligent is an inquiry independent

from whether another who directly causes the injury acted intentionally.” Id. at 191. Contrary to

Hanover’s position, “the actor’s intent is not imputed to the insured in determining whether there

was an occurrence” triggering coverage. Id. at 191-92. See also Mid-Continent Cas. Co. v. JHP

Development, Inc., No. Civ.A.SA04CA-192-XR, 2005 WL 1123759, at *4 (W.D. Tex. April 21,

2005) (“In King, the Texas Supreme Court concluded that it is ‘the insured’s standpoint [that]


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controls in determining whether there has been an ‘occurrence’ …” Id. at 188). Therefore,

whether or not Ms. Cassone’s allegations against Mr. Black are covered by the Policy is immaterial

to the Chronicle’s coverage.

        41.     In sum, because The Cassone Lawsuit does not allege that Ms. Cassone’s alleged

injuries were “expected or intended from the standpoint of the” Chronicle; that they were “caused

by or at the direction of the [Chronicle] with the knowledge that the act would violate” her rights;

or that they “arose out of a criminal act committed by or at the direction of the insured,” the

exclusions do not excuse Hanover from its duty to defend the Chronicle.

        D.      Hanover ignored the Chronicle’s response and refused a defense under the
                Policy’s Employment Practices Liability Coverage Endorsement.

        42.     The Chronicle’s counsel responded in detail to Hanover’s declination letter on

November 19, 2023. Ex. 6, attached. The Chronicle carefully explained (1) that Hanover had

misidentified which claims Ms. Cassone alleged against the Chronicle; (2) that Ms. Cassone’s

claims against the Chronicle were not based solely on its allegedly intentional or criminal acts; and

(3) that Hanover had misstated the scope of its Policy by claiming it excluded all claims alleging

“intentional acts.” Id. at 1-3.

        43.     Hanover did not respond to the Chronicle’s letter.

        44.     The Chronicle sent Hanover a copy of Ms. Cassone’s First Amended Complaint on

December 11, 2023, the next business day after it was filed. Ex. 7, attached.

        45.     Hannover did not respond.

        46.     Because Hanover’s denial letter did not address the Policy’s Employment

Practices Liability Coverage Endorsement (“EPL Coverage”). See Ex. 1 at 176-84. The

Chronicle’s insurance broker, therefore, asked Hanover to provide its position as to that provision,

which Hanover did by letter on March 6, 2024, again denying coverage. See Ex. 8, attached.



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        47.     In this denial letter, Hanover provided a new, and contradictory, interpretation of

The Cassone Lawsuit. Rather than claim that Ms. Cassone alleged only “intentional acts” against

the Chronicle, Hanover denied coverage by claiming that Ms. Cassone did not allege any

intentional acts by the Chronicle:

        Ms. Cassone alleges that Mr. Black sexually assaulted her on several occasions over the
        years and alleges that Mr. Black improperly withheld her salary. … There are no
        allegations that ACC engaged directly in any of the acts or omissions, but only that it
        knowingly received a benefit from Ms. Cassone’s uncompensated labor/services.

Ex. 8 at 2 (emphasis added). This time, Hanover correctly recognized that Ms. Cassone alleged

intentional torts and breach of contract against Mr. Black only, not the Chronicle. Id. And this

time, Hanover, correctly recognized that The Cassone Lawsuit did not allege intentional conduct

by the Chronicle:

        Further, Ms. Cassone does not allege that ACC committed a “wrongful employment act.”
        While various acts or omissions by Mr. Black are alleged, the Lawsuit does not allege that
        ACC sexually harassed Ms. Cassone. … Even in terms of the two causes of action that
        include ACC regarding forced labor and trafficking, Mr. Black is alleged to have engaged
        in the forced labor and trafficking, while ACC is alleged to have only received a benefit
        from such actions.

Id. at 4 (emphasis added). This is exactly what the Chronicle said in response to Hanover’s initial

denial letter. See Ex. 6.

        48.     In short, in order to deny coverage under the Business Owners Liability Coverage

and Umbrella Coverage, Hanover characterized Ms. Cassone’s allegations against the Chronicle

as intentional. Then, to deny coverage under the EPL Coverage, Hanover recharacterized those

same allegations as unintentional.

        49.     A telling sentence in Hanover’s second denial letter confirms that it has not been

following Texas law when deciding whether it has a duty to defend The Cassone Lawsuit.

Although not asked to opine on whether the Policy provides Mr. Black coverage, Hanover



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volunteered that “Mr. Black likely does not qualify as an ‘insured’ under the Policy for the conduct

alleged.” Ex. 8 at 4 (emphasis added). But “likely does not qualify” does not justify denying a

defense. Under Texas law, if “any allegation in the complaint is even potentially covered by the

policy then the insurer has a duty to defend its insured.” Primrose Operating Co. v. Nat’l Am. Ins.

Co., 382 F.3d 546, 552 (5th Cir. 2004) (quoting Enserch Corp., 952 F.2d at 1492) (emphasis added

by Court). Given Hanover’s admission in its second denial letter that The Cassone Lawsuit does

not allege intentionally wrongful acts by the Chronicle, it must provide the Chronicle a complete

defense pursuant to its Businessowners Liability Coverage.

        50.     In addition, Hanover must provide the Chronicle with a defense under its EPL

Coverage because the two grounds it asserted for denying that coverage are likewise based on an

incorrect reading of The Cassone Lawsuit and its Policy.

        51.     Hanover’s first reason for denying EPL Coverage was that “[t]here are no

allegations in the First Amended Complaint that Ms. Cassone was an employee of ACC.” Ex. 8

at 4. Hanover claims her allegations are consistent only with her being either a “visitor” or an

“independent contractor.” Id. While Ms. Cassone does not expressly allege she was a W-2

employee of the Chronicle, she also does not allege that she was a “visitor” or an “independent

contractor.”   The Policy’s definition of “employee” includes “any part-time, seasonal, and

temporary ‘employees.” Id. at 3. The Cassone Lawsuit alleges that the Chronicle “benefited from

Ms. Cassone’s forced labor;” that her “salary was frequently paid from The Austin Chronicle’s

PayPal account … as recently as 2021;” that she “assisted Mr. Black on projects for [] The

Chronicle;” that the Chronicle “repeatedly financed Ms. Cassone’s flight, hotel, and other travel

expenses;” that she wrongly “never received professional credit for her … creative endeavors for

The Chronicle;” that her salary sometimes came from “The Austin Chronicle directly;” that the




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work she performed “was inextricably connected to [Mr. Black’s] relationship with The Austin

Chronicle and his contributions to that journal;” that she “frequently worked at The Austin

Chronicle office in Austin, Texas;” and that “on several occasions, Mr. Cassone attended

Chronicle meetings” during which Mr. Black “pitched Mr. Cassone’s ideas.” Ex. 3 ¶¶ 8, 9, 21,

34, 42, 44, 53. Ms. Cassone’s Proposed Second Amended Complaint goes even further, alleging

she “was paid by The Chronicle to work at the Association of Alternative Newsmedia’s (ANN)

four-day international symposium, the alternative news industry’s largest gathering of the year,

hosted by The Chronicle at the Westin Downtown.” Ex. 4 ¶ 47. She claims she was “paid to serve

as an event coordinator,” that she answered questions by hotel staff for the Chronicle, and that she

“directed The Chronicle in setting up symposium events and managing events once in progress.”

Id. ¶ 48.5

        52.      These allegations are entirely consistent with Ms. Cassone being a “part-time,

seasonal, or temporary” employee of the Chronicle, and thus her claims potentially fall within the

Policy’s definition of “employee. That is all that is needed under Texas law to trigger Hanover’s

duty to defend. Enserch Corp., 952 F.2d at 1492 (“If any allegation in the complaint is even

potentially covered by the policy then the insurer has a duty to defend its insured.”).

        53.      Hanover’s second reason for denying EPL Coverage was that “Ms. Cassone does

not allege that ACC committed a ‘wrongful employment act’” as defined in the Policy. Ex. 8 at



5
  The Chronicle denies these allegations, but as Hanover acknowledges, the truth or falsity of
Ms. Cassone’s claims is irrelevant to the question of coverage. See Ex. 5 at 1 (“Hanover recognizes
that the allegations outlined below may be unsubstantiated and nothing in this letter is intended to
suggest that the allegations have any legal or factual merit.”); Ex. 6 at 1 (“Hanover recognizes that
the Lawsuit allegations may be unsubstantiated and nothing in this letter is intended to suggest that
the allegations have any legal or factual merit.”). For the same reason, the Court’s dismissal of
Ms. Cassone’s claims against the Chronicle under Rule 12(b)(6) does not excuse, after the fact,
Hanover’s breach of it duty to defend.


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4. But again, Ms. Cassone’s allegations at least potentially allege such an act as to the Chronicle,

given that the definition of “wrongful employment act” includes (1) “harassment,” including

“sexual harassment, whether quid pro quo, hostile work environment or otherwise;” (2)

“discrimination … based on gender;” (3) employment-related “humiliation;” (4) “wrongful

deprivation of career opportunity;” (5) “failure to provide or enforce adequate or consistent

corporate policies and procedures relating any ‘wrongful employment act;’” and (6) “negligent

supervision … by an ‘insured’, relating to any of the above.” See Ex. at 3-4. Ms. Cassone’s

allegations potentially fall within the Policy’s definition of “wrongful employment act,” which is

all that is needed to trigger Hanover’s duty to defend under Texas law. Enserch Corp., 952 F.2d

at 1492.

        54.     Hanover closed its file on the Chronicle’s demand for a defense and

indemnification in The Cassone Lawsuit on April 23, 2024.

        55.     Because Hanover refused to provide a defense, the Chronicle was required to retain

defense counsel at its own expense. The Chronicle has incurred over $90,000 in attorneys’ fees

and costs in The Cassone Lawsuit to date, and it will continue to incur such fees and costs so long

as that case remains pending. The Chronicle also has been required to retain the undersigned

counsel to bring this lawsuit to enforce its rights under the Policy and Texas law.

V.      Claims.

        A.      Declaratory Judgment: Duty to Defend and Indemnify.

        56.     The Chronicle incorporates all preceding allegations as if fully alleged herein.

        57.     A valid contract exists between the Chronicle and Hanover, namely the Policy.




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        58.     The Chronicle has paid all premiums owed under the Policy and has fully

performed all other obligations and conditions under the Policy, or it is excused from performing

them because of Hanover’s wrongful denial of coverage.

        59.     An actual controversy exists between the Chronicle and Hanover regarding the

parties’ respective rights and duties under the Policy. The Chronicle therefore asks this Court to

grant a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal

Rules of Civil Procedure that:

        (1)     Hanover owes a duty to defend the Chronicle in The Cassone Lawsuit;

        (2)     Hanover must pay the Chronicle’s attorneys’ fees and costs incurred in The
                Cassone Lawsuit as of the date of judgment, plus pre- and post-judgment interest
                as required by law;

        (3)     Hanover must pay any additional attorneys’ fees and costs the Chronicle incurs in
                The Cassone Lawsuit after judgment is entered; and

        (4)     Hanover must indemnify the Chronicle, up to the limits of the Policy, for any
                settlement or judgment entered against it in The Cassone Lawsuit.

        B.      Breach of Contract.

        60.     Plaintiff incorporates all preceding allegations as if fully alleged herein.

        61.     A valid contract exists between the Chronicle and Hanover, namely the Policy.

        62.     The Chronicle has paid all premiums owed under the Policy and has fully

performed all other obligations and conditions under the Policy, or it is excused from performing

them because of Hanover’s wrongful denial of coverage.

        63.     Hanover has breached the contract by failing to provide the Chronicle a defense in

The Cassone Lawsuit and by failing to pay its attorneys’ fees and costs incurred in that lawsuit.

        64.     Hanover has anticipatorily breached the contract by refusing to pay future defense

costs in The Cassone Lawsuit and by refusing to honor its contractual obligation to indemnify the

Chronicle for any settlement or judgment entered against it, up to the limits of the Policy.


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        65.      Hanover’s breach of contract has proximately caused the Chronicle damages

including, but not limited to, the attorneys’ fees, costs, and expenses incurred in the defense of The

Cassone Lawsuit.

        66.      Hanover’s breach of contract will continue to cause the Chronicle damages in the

form of the additional attorneys’ fees and costs it will incur in the defense of The Cassone Lawsuit

in the future.

        C.       Violations of the Texas Insurance Code.

        67.      The Chronicle incorporates all preceding allegations as if fully alleged herein.

                 1.     Unfair and deceptive practices and misrepresentation of the Policy.

        68.      Hanover owes the Chronicle duties under Sections 541.003, 541.060, and 541.061

of the Texas Insurance Code to refrain from engaging in any unfair or deceptive act or practice in

the business of insurance and to refrain from misrepresenting its insurance policies.

        69.      Hanover has engaged in unfair or deceptive practices in violation of Section

541.060 of the Texas Insurance Code by:

                 a.     misrepresenting to the Chronicle a material fact or policy provision relating

to coverage under the Policy;

                 b.     failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of a claim with respect to which its liability has become clear;

                 c.     failing to promptly provide the Chronicle a reasonable explanation of the

basis in the Policy for its denial of the Chronicle’s claim; and

                 d.     refusing to pay the Chronicle’s claim without conducting a reasonable

investigation with respect to the claim.




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        70.     In addition, Hanover misrepresented the Policy in violation of Section 541.061 of

the Texas Insurance Code by:

                a.      making an untrue statement of material fact;

                b.      failing to state a material fact necessary to make other statements made not

misleading, considering the circumstances under which the statements were made;

                c.      making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact; and/or

                d.      making a material misstatement of law.

                2.      Unfair claim settlement practices.

        71.     Hanover owes the Chronicle duties under Section 542.001, et seq., of the Texas

Insurance Code to refrain from unfair claim settlement practices.

        72.     Hanover engaged in unfair settlement practices by, among other things,

                a.      knowingly misrepresenting to the Chronicle pertinent fact or policy

        provisions relating to coverage under the Policy;

                b.      failing   to   acknowledge      with   reasonable     promptness     pertinent

        communications relating to a claim arising under the Policy;

                c.      failing to adopt and implement reasonable standards for the prompt

        investigation of claims arising under the Policy;

                d.      not attempting in good faith to effect a prompt, fair, and equitable settlement

        of the Chronicle’s claim in which liability has become reasonably clear; and

                e.      compelling the Chronicle to institute a suit to recover an amount due under

        the Policy by offering substantially less than the amount ultimately recovered in this

        lawsuit.




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                3.      Breach of the Texas Prompt Payment of Claims Act.

        73.     Hanover owes the Chronicle duties under Section 542.051, et seq., of the Texas

Insurance Code (“the Texas Prompt Payment of Claims Act” or “TPPCA”) to pay claims no later

than 60 days after receiving all items, statements, and forms reasonably requested of the insured.

        74.     Hanover received all such information no later than November 16, 2023, when it

issued a letter denying the Chronicle any coverage for The Cassone Lawsuit. Hanover breached

its obligation to pay the Chronicle’s attorneys’ fees and costs incurred in that lawsuit claims

without unduly delay, in violation of Section 542.058 of the Texas Insurance Code.

                4.      Remedies for Hanover’s breach of Texas Insurance Code.

        75.     The Chronicle is entitled to recover its actual damages, attorneys’ fees, costs, and

expenses incurred in defense of The Cassone Lawsuit pursuant to Sections 541.152(a) and 542.060

of the Texas Insurance Code.

        76.     Before denying coverage, Hanover was fully aware of the language of The Cassone

Lawsuit and the language of its Policy, and it is charged with knowledge of Texas insurance law.

The Chronicle expressly put Hanover on notice that its rejection of coverage was erroneous.

Hanover’s breaches of the Texas Insurance Code were therefore committed knowingly, making

the Chronicle entitled to an award of three times the amount of its actual damages under Section

541.152(b) of the Texas Insurance Code.

        D.      Breach of Implied Covenant of Good Faith and Fair Dealing.

        77.     The Chronicle incorporates all preceding allegations as if fully alleged herein.

        78.     Hanover at all material times had the duty to act fairly and in good faith in carrying

out its responsibilities under the Policy.

        79.     Pursuant to the Policy and Texas law, Hanover must act fairly and in good faith to




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promptly and reasonably investigate claims against the Chronicle, and to make reasonable

coverage decisions. As an insurer, Hanover owes the Chronicle an implied covenant of good faith

and fair dealing. Hanover breached these duties by refusing to defend the Chronicle in The

Cassone Lawsuit and by refusing to provide necessary coverage owed under the Policy when

tendered, notwithstanding the Chronicle’s repeated requests.

        80.     Hanover breached its duty of good faith and fair dealing by committing the

following acts and omissions:

                a.      Unreasonably refusing to immediately defend the Chronicle in The Cassone

        Lawsuit after receipt of tender thereof;

                b.      Failing to conduct a reasonable investigation and unreasonably withholding

        monetary payment for the defense of The Cassone Lawsuit;

                c.      Failing to give a reasonable interpretation to the provisions of the Policy,

        failing to reasonably apply provisions of the Policy to the claims asserted against the

        Chronicle, unreasonably refusing to acknowledge that the claims against the Chronicle in

        The Cassone Lawsuit are potentially covered, and failing to timely, promptly and without

        delay, pay the reasonable and necessary defense fees and costs incurred after the tender;

                d.      Failing to provide the Chronicle with a reasonable or justifiable basis for its

        decision to deny coverage for The Cassone Lawsuit; and

                e.      Interpreting the provisions of the Policy and the factual circumstances to

        resolve ambiguities and uncertainties against the Chronicle and in favor of itself.

        81.     As a result of Hanover’s bad faith conduct, the Chronicle has incurred substantial

attorneys’ fees, costs, and expenses in defense of the Cassone Lawsuit and has been required to

bring this Complaint to enforce its rights under the Policy and Texas law.




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        82.      The Chronicle is entitled to recover as damages against Hanover all the attorneys’

fees, costs, and expenses it has incurred and will incur in the defense of The Cassone Lawsuit, in

addition to its attorneys’ fees and costs incurred in this lawsuit under Section 542.060, Tex. Ins.

Code and Section 38.001, Tex. Civ. Prac. & Rem. Code, plus pre- and post-judgment interest,

including statutory 18% interest under Section 542.060, Tex. Ins. Code.

VI.     Conditions precedent.

        83.      All conditions precedent have been performed or occurred.

VII.    Prayer.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff The Austin Chronicle Corporation

seeks judgment against Defendant Hanover Casualty Company:

        1.       Declaring the parties’ rights as requested in Section V.A., above;

        2.       Awarding the Chronicle its attorneys’ fees and costs incurred in The Cassone
                 Lawsuit, actual damages, and treble damages under Section 541.152(b), Tex. Ins.
                 Code;

        3.       Awarding the Chronicle pre- and post-judgment interest; and

        4.       Awarding the Chronicle its attorneys’ fees and costs incurred in this lawsuit; and

        5.       Such other and further relief deemed just and proper.

                                           Respectfully submitted,

                                           /s/ Peter D. Kennedy
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          EXHIBITS IN SUPPORT OF PLAINTIFF’S ORIGINAL COMPLAINT


1.      Hanover Insurance Policy OLD-A997819-07 issued to The Austin Chronicle Corporation.

2.      Original Complaint, Cassone v. Black, No. 1:23-cv-01197, in the U.S. District Court for
        the Western District of Texas, Austin Division, filed October 3, 2023.

3.      First Amended Complaint, Cassone v. Black, No. 1:23-cv-01197, in the U.S. District Court
        for the Western District of Texas, Austin Division, filed December 8, 2023.

4.      Proposed Second Amended Complaint, Cassone v. Black, No. 1:23-cv-01197, in the U.S.
        District Court for the Western District of Texas, Austin Division, filed June 5, 2024.

5.      Hanover letter declining coverage for The Cassone Lawsuit under the Policy’s
        Businessowners Coverage and the Umbrella Policy, dated November 16, 2023.

6.      Letter from the Chronicle’s counsel responding to Hanover’s letter declining coverage,
        dated November 19, 2023.

7.      Email from the Chronicle’s counsel tendering the First Amended Complaint in The
        Cassone Lawsuit to Hanover, dated December 11, 2023.

8.      Hanover letter declining coverage for The Cassone Lawsuit under the Policy’s
        Employment Practices Liability Endorsement, dated March 6, 2024.




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